                       UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                      CRIMINAL DOCKET NO. 5:08CR12-2-V

UNITED STATES OF AMERICA                  )
                                          )
vs.                                       )            ORDER
                                          )
JOEY ANTRONE CARROLL,                     )
                                          )
              Defendant.                  )
                                          )

        THIS MATTER is before the Court on the Government’s Motion for

Reconsideration of Bond and Motion to Stay. Document #41. The Defendant had

detention hearings before United States Magistrate Judge Carl Horn on March 25 and

April 21, 2008. At the conclusion of those hearings, the Magistrate Judge ordered the

Defendant released, subject to electronic monitoring and a $50,000 unsecured bond.

Documents ##38, 39. Also on April 21, 2008, immediately subsequent to that order, the

Government appealed the order granting bond. See 18 U.S.C. § 3145(a).

        This Court reviews de novo the Magistrate Judge's order granting the pre-trial

release of the Defendant. See United States v. Williams, 753 F.2d 329, 333 (4th Cir.

1985); United States v. Stewart, 19 Fed. Appx. 46, 48 (4th Cir. 2001) (unpublished).

The Court must “determine whether any condition or combination of conditions ... will

reasonably assure the appearance of [the defendant] as required and the safety of any

other person and the community.” 18 U.S.C. § 3142(f). In making this determination,

the Court must consider several relevant factors. 18 U.S.C. § 3142(g).

        The Court has reviewed the electronic recordings of the detention hearings

before Magistrate Judge Horn, the contents of the criminal file in this matter, and the




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brief of the Government. The Government has indicted the Defendant for a violation of

21 U.S.C. § 846, namely conspiracy to possess with intent to distribute a controlled

substance. This charge raises a rebuttable presumption that no condition or

combination of conditions would reasonably assure the appearance of the person as

required and the safety of the community. See 18 U.S.C. § 3142(e) (citing to section

(f)(1), which lists offenses under the Controlled Substances Act).1

       Magistrate Judge Horn accepted the recommendation of the pre-trial services

report and granted the release of the Defendant pursuant to several conditions. See

Documents ##38, 39. Having reviewed that decision, this Court finds that the

Defendant does not overcome the rebuttable presumption of detention, and therefore

the Court hereby orders the Defendant detained pending trial.

       The rebuttable presumption is buoyed by the nature and circumstances of the

offense of which the Defendant stands accused. The offense charged involves a

significant amount of narcotics. The Government also presented evidence that the

Defendant mailed drugs and firearms to gang members in California. Furthermore, the

weight of the evidence implicating the Defendant is quite strong. Law enforcement

arrested the Defendant twice, once in the presence of narcotics and firearms, and once

when the Defendant actually possessed the controlled substance. The Government

also possesses post-Miranda admissions by the Defendant that his involvement in the

conspiracy included substantial quantities of cocaine.

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          In regard to the Controlled Substances Act, a rebuttable presumption arises for offenses
punishable by a maximum term of ten years or more imprisonment. 18 U.S.C. § 3142(f)(1)(C).
The Government has charged the Defendant with a conspiracy to possess with intent to distribute
at least five (5) kilograms of cocaine, pursuant to 21 U.S.C. §§ 846 and 841(a)(1). The penalty
prescribed for that offense is a term of imprisonment not less than ten (10) years. 21 U.S.C. §
841(b)(1)(A).


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       The history and characteristics of the Defendant also favor detention. The

Magistrate Judge did acknowledge that the Defendant has family ties in the area, and

that he seems to maintain consistent employment. However, there is evidence that at

least two family members of the Defendant are implicated in this conspiracy as well.

The Court also notes that the information regarding the history and family ties of the

Defendant in the pre-trial services report was not verified.

       Perhaps most importantly, the Defendant has a history of failures to comply or

cooperate. After his first arrest, law enforcement officers offered the Defendant an

opportunity to cooperate. After two days, the Defendant broke-off communication with

law enforcement and resumed dealing drugs until he was arrested for the second time.

Additionally, the Defendant has a criminal record that includes three failures to appear

and at least two probation violations. These instances are strong indicators that no

combination of conditions can reasonably assure the future appearance of the

Defendant.

       The Defendant has been charged with a serious drug offense. Since most of the

relevant factors favor detention and the scant evidence in favor of bond is mitigated,

there is insufficient evidence to overcome the rebuttable presumption that no

combination of conditions can reasonably assure the appearance of the Defendant or

the safety of the community.

       IT IS, THEREFORE, ORDERED that the Government’s Motion to Reconsider

Bond is hereby GRANTED, and the Court orders that the Defendant be DETAINED

pending trial.




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                                 Signed: May 5, 2008




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